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FILED
AQ 2453 {Rev U911) Judgment ina Criminal Case APR 2 3 2015

Sheet 1
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Gierk-U-5-Distieht-Benkeupioy
Courts for the District of Columbia

UNITED STATES DISTRICT COURT
SeA\eD

District of Columbia

)
UNITED STATES OF AMERICA ) JUDGMENT IN A CRIMINAL CASE
Vv. )
)
Daniela Greene ) Case Number: 14 CR 230-(01) (RC)
USM Number: 33422-016
) Shawn F. Moore, Esq (FPD)
Defendant's Attorney ne ee ee
THE DEFENDANT:
Wf pleaded guilty to count(s) _ One (1) of the Information
LI pleaded nolo contendere tocount(s) Ce ; |
which was accepted by the court. EE
C1 was found guilty on count(s) ee oo ; oe
after a plea of not guilty. rs - "
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
18 USC § 1001 False Statements Involving Intemational Terrorism 8/8/2014 1
The defendant is sentenced as provided in pages 2 through 6 of this judgment The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
(1) The defendant has been found not gualby on count(s) ee So ee _
CJ Count(s) ee — Oss LJare dismissed on the motion of the United States.

_. Itis ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address untilall fines, restitution, costs, and special assessments imposed by this judgment are fully paid’ If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

April 22, 2015

Date of Imposition of Judgment

 

 

Signature of J ldge ~

Rudolph Contreras U.S. District Court Judge
Name and Title of Judge —

HJA2/ 2015

 

 

Date.
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AO MSH (Rev 09/7 1) tudgment in Criminal Case
Sheet 2 — Imprisonment

Judgment -— Page _ 2 at
DEFENDANT: Daniela Greene
CASE NUMBER: 14 CR 230-(01) (RC)

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a

total term of:

24 Months
(with credit for time served beginning on 8/8/2014)

(1 The court makes the following recommendations to the Bureau of Prisons:

[1 The defendant is remanded to the custody of the United States Marshal.

The defendant shall surrender to the United States Marshal for this district:

[] at OF am. (J pun. on — es

(1 as notified by the United States Marshal.

(1 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

L) before 2 p.m. on

C] as notified by the United States Marshal.

0 as notified by the Probation or Pretrial Services Office.

RETURN

I have executed this judgment as follows:

Defendant delivered on . . to ee lee _.

. with a certified copy of this judgment

DEPUTY UNITED STATES MARSHAL -

~ “UNITED STATES MARSHAL _ °
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AO 245B (Rev 09/11) Judgment in a Criminal Case
Sheet 3 — Supervised Release

Judgment—Page 3s 6

DEFENDANT; Daniela Greene
CASE NUMBER: 14 CR 230-(01) (RC)

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :
3 Years

The defendant must report to the probanon office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

Mw The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
future substance abuse. (Check, fapplicable }

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, tfapplicable }

The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, f applicable }

oO Mk

The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, ef seq.)
as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
works, is a student, or was convicted of a qualifying offense. (Check, sfapplicable )

()_ The defendant shall participate in an approved program for domestic violence. (Check, if applicable )

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer,

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer,
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons,

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcoho! and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered,

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant's comphance with such notification requirement.
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AO 245B (Rev 09/11) Judgment mn a Criminal Case
Sheet 3A — Supervised Release

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DEFENDANT: Daniela Greene
CASE NUMBER: 14 CR 230-(01) (RC)

ADDITIONAL SUPERVISED RELEASE TERMS

Community Service. Defendant shall contribute 80 hours of community service, at a rate of no Jess than 20 hours per
month, unless excused from the monthly requirement by the probation office.

Employment Restriction Defendant shall be restricted from engaging in employment, consulting, or association in any
position related to investigation of criminal or terroristic activities during the term of supervision unless specifically
approved by the Court.

Mental Health Treatment: Defendant shall participate in an outpatient counseling mental health treatment program, as

approved and directed by the Probation Office

***THE COURT FINDS that the provision for submission of periodic drug tests, as required under 18 USC§3563(a) and
3583(b), is suspended, as the defendant is believed to pose a low risk of future substance abuse.**
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AO 245B (Rev 09/11) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalues

Judgment— Page 9 oof __ 6 .
DEFENDANT: Daniela Greene

CASE NUMBER: 14 CR 230-(01) (RC)
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 100 00 $ 0.00 $ 0.00
[) The determination of restitution is deferred until An Amended Judgment in a Criminal Case (40 245C) will be entered

after such determination.
() The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately pro ortioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664C1), al) nonfederal victims must be paid
before the United States is paid.

 

 

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
TOTALS $ — 000 0.00

[Restitution amount ordered pursuant to plea agreement $ _

(1 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C, § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

Cl] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
C1 the interest requirement 1s waived for the [ fine (€] restitution

(1 the interest requirement forthe [J fine  [{] restitution is modified as follows.

* Findings for the total amount of losses are required under Chapters 109A, 110, 1JOA, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 2458 (Rev 09/711) Judgment ina Criminal Case
Sheet 6 -- Schedule of Payments

Judgment -- Page 6 of 6

DEFENDANT: Daniela Greene
CASE NUMBER: 14 CR 230-(01) (RC)

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A we Lump sum payment of $ 100.00 due immediately, balance due

(] not later than ,or

[] in accordance 0 C, 7 OD, (] E,or {D F below; or

B  [) Payment to begin immediately (may be combined with [)C, (2D,or [)F below); or
C © Paymentinequal _ (e.g., weekly, monthly, quarterly) installments of $ over a period of
_ _ (@g, months or years},to commence (e g., 30 or 60 days) after the date of this judgment; or
D O) Paymentinequal ___ (eg. weekly, monthly, quarterly, installments of $ —soover a period of
. fe: months or years}. to commence ___ fe g, 30 or 6 days) after release from imprisonment to a
term of supervision: or
Ef) Payment during the term of supervised release will commence within __ feg. 30 ar 69 davs) after release from

imprisonment The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time: or

F Special instructions regarding the payment of criminal monetary penalties:
p 8 g pay yp

The special assessment is immediately payable to the Clerk of Court for the US District Court, District of the
Columbia. Within 30 days of any change of address, defendant shall notify the Clerk of Court of the change until
such time as the financial obligation is paid in full.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment, All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financia
Responsibility Program. are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

CI Joint and Several

Defendant and Co-Defendant Names and Case Numbers fincluding defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

[) The defendant shall! pay the cost of prosecution.
(‘The defendant shall pay the following court cost(s):

(1 The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
